                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

ROBERT MOORE                                       §
    Plaintiff,                                     §
                                                   §
v.                                                 §           EP-19-CV-00279-DCG
                                                   §
U.S. IMMIGRATION AND CUSTOMS                       §
ENFORCEMENT; U.S. CUSTOMS AND                      §
BORDER PROTECTION; AND                             §
U.S. DEPARTMENT OF HEALTH                          §
AND HUMAN SERVICES,                                §
       Defendants.                                 §

                               JOINT NOTICE TO THE COURT

        Plaintiff ROBERT MOORE and Defendant UNITED STATES CUSTOMS AND

BORDER PROTECTION (CBP), (hereafter collectively referred to as the “Parties”) file this Joint

Notice to the Court and would show the following:

        1.      This matter is scheduled for a bench trial on Wednesday, September 15, 2021 at

1:00 p.m. ECF No. 121. The issue at trial relates to a June 2018 Freedom of Information Act

(FOIA) request submitted by Plaintiff to CBP (FOIA Request Number CBP-2018-064544). See

ECF No. 128, p. 2. At issue was whether CBP properly asserted exemptions under 5 U.S.C. §

552(b)(7)(E) in withholding migrant information from its June 15, 2021 and June 21, 2021

production. Id., p. 3.

        2.      On September 10, CBP rolled back certain redactions which were placed on its

production to Plaintiff in response to CBP-2018-064544. Then, on September 14, CBP rolled back

additional redactions in dispute – resolving the issues that were to be presented to the Court at trial.

As such, because CBP is no longer withholding information in dispute, the Parties now provide

notice to the Court that they have resolved all issues which were to be heard at trial.
        3.     On September 14, 2021, Plaintiff will submit for CBP consideration Plaintiff’s

request for attorney fees and cost as permitted 5 U.S.C. § 552(a)(4)(E)(i). The Parties have agreed

that CBP shall provide a written response to Plaintiff’s request for fees and costs by September 28,

2021. If the Parties are unable to reach settlement on attorney fees and costs by that date, Plaintiff

will file an attorney’s fees application with the Court.

        4.     The Parties respectfully request that the bench trial currently scheduled for

Wednesday, September 15, 2021 be vacated. The Parties further request that they be permitted to

provide notice to the Court by 5:00 p.m., September 28, 2021 as to their status on the issues of

attorney fees and costs.

        5.     Either Party may seek further Court intervention should it be deemed necessary.

Submitted this 14th day of September 2021.

                                               Respectfully submitted,

                                               ASHLEY C. HOFF
                                               UNITED STATES ATTORNEY

Date:    09/14/2021                            /s/ Manuel Romero
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AND




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Date:   09/14/2021   /s/ Christopher Benoit
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